92 F.3d 1183w
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Willie REYNOLDS, Defendant-Appellant.
    No. 95-6603.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 12, 1996.Decided July 23, 1996.
    
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      NOTE: THE COURT HAS WITHDRAWN THIS OPINION. VACATED Oct.10,1996.
    
    